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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division
                                   www.flsb.uscourts.gov

In re:                                                 Case No. 18-23930-BKC-PDR

EMMA BUMSHTEYN,                                        Chapter 7

      Debtor.
___________________________________/

KENNETH A. WELT, Chapter 7 Trustee,                    Adv. Case No.

          Plaintiff,
vs.

EMMA BUMSHTEYN and YEVGENIYA
BUMSHTEYN, both Individually and as Trustee
of the Bumshteyn Family Irrevocable Inter Vivos
Trust,

      Defendants.
____________________________________/

         COMPLAINT (1) OBJECTING TO DEBTOR’S DISCHARGE; (2) AVOIDING
         CERTAIN FRAUDULENT TRANSFERS; AND (3) FOR THE RECOVERY OF
              SUCH ASSETS TRANSFERRED OR THE VALUE THEREOF

          Kenneth A. Welt, the duly appointed Chapter 7 Trustee of the above-captioned

bankruptcy case (the “Trustee”), by undersigned counsel, brings this Complaint: (1) Objecting to

Debtor’s Discharge; (2) Avoiding Certain Fraudulent Transfers; and (3) for the Recovery of

Such Assets or the Value Thereof, against Emma Bumshteyn (the “Debtor”) and Yevgeniya

Bumshteyn, both individually and as Trustee of the Bumshteyn Family Irrevocable Inter Vivos

Trust, and in support thereof, alleges as follows:

                                  Jurisdiction, Venue and Parties

          1.      This case was commenced by the filing of a voluntary Chapter 7 petition on

November 8, 2018 (the “Petition Date”).

          2.      This is an action objecting to the Debtor’s discharge, pursuant to 11 U.S.C. §§

727(a)(2), 727(a)(3), 727(a)(4)(D), 727(a)(5) and 727(a)(6)(A).

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       3.      This is also an action to avoid certain fraudulent transfers and recover the asset(s)

transferred and/or the value thereof, pursuant to 11 U.S.C. §§ 544 and 550 and Fla. Stat. §§

727.105 and 727.106.

       4.      This is a core proceeding and this Court has jurisdiction over this action pursuant

to 28 U.S.C. §§ 157 and 1334 and Fed. R. Bankr. P. 7001.

       5.      Venue is proper herein pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      Kenneth A. Welt is the duly appointed and acting Chapter 7 trustee for the

bankruptcy estate.

       7.      Emma Bumshteyn is the above-referenced Debtor of this bankruptcy proceeding.

       8.      Yevgeniya Bumshteyn is the Debtor’s granddaughter.

                        The Obligation Owed to Melrose Credit Union

       9.      The Debtor is the owner of N.Y. Neva Taxi Corp. (“NY Neva”), a New York

corporation, which provides (or provided) taxi services.

       10.     On or around October 9, 2012, NY Neva and the Debtor entered into a Balloon

Note (the “Note”), in favor of Melrose Credit Union (“Melrose”), for the amount of

$1,330,000.00. The Note matured on October 9, 2015.

       11.     On or around October 9, 2012, NY Neva and the Debtor entered into a Security

Agreement, securing the indebtedness created by the Note. The collateral included certain taxi

medallions (MED # 8L84-8L85) (the “Taxi Medallions”) and 200 shares of stock in NY Neva.

       12.     On or around October 23, 2015, after the maturity date of the Note, NY Neva and

the Debtor entered into an Extension and Modification Agreement (the “Modification

Agreement”) with Melrose, relating to the Note and the Security Agreement.

       13.     In the Modification Agreement, NY Neva and the Debtor acknowledged that

Melrose was owed the amount of $1,225,663.75 as of October 23, 2015.


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        14.    Pursuant to the Modification Agreement, the new monthly payment was

$6,471.63 and the new maturity date became October 23, 2018.

        15.    After entering into the Modification Agreement, the Debtor began to

systematically dispose of and transfer all of her assets, as further described below.

        16.    On December 6, 2018, Melrose filed Claim # 1-1, in the amount of $1,210,218.59

(the “Melrose Claim”). According to the Melrose Claim, the value of the Taxi Medallions

(Melrose’s collateral) was $350,000.00.

                         The Transfer of the Parkview Drive Property

        17.    As of June 17, 2016, the Debtor resided at 1849 S Ocean Dr # 1507, Hallandale

Beach, FL 33009 (the “Ocean Drive Property”). As of that date, the Ocean Drive Property was

owned by the Debtor in a life estate, with the remainder interest held by Yevgeniya Bumshteyn.

        18.    On or around June 17, 2016, the Debtor transferred her non-exempt real property

located at 800 Parkview Dr # 316, Hallandale Beach, FL 33009 (the “Parkview Drive Property”),

which she solely owned, to Mario Brisson and Marc Andre Deodati Brisson, for the purchase

price of $168,000.00. Attached hereto as Exhibit “A” is the Warranty Deed, evidencing the

transfer.

        19.    The Parkview Drive Property was not encumbered with any mortgage(s) at the

time of the transfer.

        20.    Pursuant to the Settlement Statement relating to the transfer of the Parkview Drive

Property (attached hereto as Exhibit “B”), the Debtor received net proceeds in the amount of

$151,759.83 (the “Parkview Sale Proceeds”).

        21.    The Parkview Sale Proceeds was then deposited into a joint bank account at TD

Bank, N.A., jointly owned by the Debtor and Yevgeniya Bumshteyn (Acct. No. 7352) (the “Joint

TD Bank Account”).


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        22.        As such, half of the Parkview Sale Proceeds were transferred to Yevgeniya

Bumshteyn, for no consideration.

        23.        Therefore, Yevgeniya Bumshteyn is indebted to the Trustee in the amount of

$75,879.92 as a result of this transaction.

                              The Transfer of the Ocean Drive Property

        24.        Shortly thereafter, on or around July 21, 2016, the Debtor and Yevgeniya

Bumshteyn transferred their interest(s) in the Ocean Drive Property to the Bumshteyn Family

Irrevocable Inter Vivos Trust (the “Trust”) and Yevgeniya Bumshteyn, as joint tenants in

common with rights of survivorship, for no consideration. Attached hereto as Exhibit “C” is the

Quitclaim Deed, evidencing the transfer.

        25.        The Ocean Drive Property was not encumbered with any mortgage(s) at the time

of the transfer.

        26.        According to the Broward County Property Appraiser’s website, the 2021 market

value of the Ocean Drive Property was $244,920.00.

        27.        Therefore, the transfer should be avoided and the Trustee is entitled to recover the

Ocean Drive Property, or the value thereof.

                            The Transfer of the Fresh Meadows Property

        28.        Immediately prior to July 27, 2016, the Debtor owned the non-exempt real

property located at 75-76 180 St, Fresh Meadows, NY 11366 (the “Fresh Meadows Property”)

jointly with Yevgeniya Bumshteyn.

        29.        On or around July 27, 2016, the Debtor and Yevgeniya Bumshteyn transferred

their interest(s) in the Fresh Meadows Property to Luxury Development LLC, for the purchase

price of $770,000.00. Attached hereto as Exhibit “D” is the Real Property Transfer Report,

evidencing the transfer.


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        30.        The net proceeds of the sale of the Fresh Meadows Property was $723,828.22 (the

“Fresh Meadows Sale Proceeds”).

        31.        As ½ owner of the Fresh Meadows Property, the Debtor was entitled to ½ of the

Fresh Meadows Sale Proceeds.

        32.        Despite the fact that the Debtor, as ½ owner of the Fresh Meadows Property, was

entitled to ½ of the Fresh Meadows Sales Proceeds, instead, all of the Fresh Meadows Sales

Proceeds were transferred to Yevgeniya Bumshteyn.

        33.        Yevgeniya Bumshteyn has provided the Trustee with documentation to support

that she contributed $90,247.90 to improve the Fresh Meadows Property.

        34.        However, such contribution constituted consideration for Yevgeniya Bumshteyn’s

½ ownership of the Fresh Meadows Property and does not entitle her to a reduction in her

liability to the bankruptcy estate as a result of this transaction.

        35.        Therefore, Yevgeniya Bumshteyn is indebted to the Trustee in the amount of

$361,914.11 as a result of this transaction.

                                  The Transfer of the Flushing Property

        36.        Immediately prior to August 9, 2016, the Debtor owned the non-exempt real

property located at 102-35 67 Rd # 3G 1, Flushing, NY 11375 (the “Flushing Property”) jointly

with Yevgeniya Bumshteyn.

        37.        On or around August 9, 2016, the Debtor and Yevgeniya Bumshteyn transferred

their interest(s) in the Flushing Property to Yevgeniya Bumshteyn, for no consideration.

Attached hereto as Exhibit “E” is the Real Property Transfer Report, evidencing the transfer.

        38.        The Flushing Property was not encumbered with any mortgage(s) at the time of

the transfer.

        39.        Thereafter, on or around May 31, 2017, Yevgeniya Bumshteyn transferred her
        1
            The Flushing Property has also been described as 10235 67 Rd # D4, Flushing, NY 11375.
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interest in the Flushing Property to Anthony Genovese, for the purchase price of $348,000.00.

Attached hereto as Exhibit “F” is the Recording and Endorsement Cover Page, evidencing the

transfer.

         40.     The net proceeds of the sale of the Flushing Property was $320,715.45 (the

“Flushing Sale Proceeds”).

         41.     As ½ owner of the Flushing Property, the Debtor was entitled to ½ of the Flushing

Sale Proceeds.

         42.     Despite the fact that the Debtor, as ½ owner of the Flushing Property, was entitled

to ½ of the Flushing Sales Proceeds, instead, all of the Flushing Sale Proceeds were transferred

to Yevgeniya Bumshteyn.

         43.     Therefore, Yevgeniya Bumshteyn is indebted to the Trustee in the amount of

$160,357.73 as a result of this transaction.

                           Transfers from the Joint TD Bank Account

         44.     As stated above, the Debtor and Yevgeniya Bumshteyn were the owners of a joint

bank account at TD Bank, N.A. (Acct. No. 7352) (the “Joint TD Bank Account”).

         45.     However, all or the majority of the funds deposited into the Joint TD Bank

Account came from the Debtor.

         46.     Between October 30, 2015 and November 1, 2016, Yevgeniya Bumshteyn caused

the amount of $232,153.62 to be transferred from the Joint TD Bank Account, to Yevgeniya

Bumshteyn, for her sole benefit (the “TD Bank Account Transfers”).

         47.     A substantial portion of such funds were used by Yevgeniya Bumshteyn to

purchase and/or improve the real property owned by her located at 27 Roberts Rd, New City, NY

10956.

         48.     Therefore, Yevgeniya Bumshteyn is indebted to the Trustee in the amount of


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$232,153.62 as a result of this transaction.

                        The Withdrawal of the Life Insurance Proceeds

       49.      On or around July 21, 2017, the Debtor deposited $96,146.22 into her Chase

Bank, N.A. Checking Account (Acct. No. 7143) (the “Chase Account”), which resulted from the

surrender of the Debtor’s life insurance policy (the “Life Insurance Proceeds”).

       50.      Thereafter, between July 21, 2017 and November 8, 2017, the Debtor

systematically withdrew and disposed of $96,180.00, essentially consisting of the totality of the

Life Insurance Proceeds, in cash, as follows:

             a. On July 21, 2017 - $3,000.00 in cash at an ATM in Glendale NY;
             b. From July 27, 2017 to August 21, 2017 - $17,100.00 from various ATMs in New
                York;
             c. From July 31, 2017 to August 22, 2017 - $28,400.00 in various withdrawals;
             d. From August 28, 2017 to September 6, 2017 - $1,480.00 from various ATMs in
                New York;
             e. From August 28, 2917 to September 25, 2017 - $27,200.00 in various
                withdrawals;
             f. From October 13, 2017 to October 23, 2017 - $6,000.00 from various ATMs in
                New York;
             g. From October 27, 2017 to November 9, 2017 - $3,500.00 from various ATMs in
                New York; and
             h. From November 8, 2017 - $9,500.00 in a withdrawal.

       51.      Despite numerous requests, as set forth below, the Debtor has failed to explain to

the Trustee the disposition of the Life Insurance Proceeds.

                The Documents Requested During the Bankruptcy Proceeding

       52.      After the above-captioned bankruptcy proceeding was filed, on December 13,

2018, the Trustee concluded the Section 341 Meeting of Creditors [ECF No. 2].

       53.      On March 22, 2019, the Trustee filed his Notice of Taking Rule 2004

Examination and Request for Production of Documents [ECF No. 20] (the “Request for

Production”). In the Request for Production, the Trustee requested that the Debtor produce

certain documents and records pertaining to her financial affairs. Pursuant to the Request for


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Production, the requested documents were to be provided on April 1, 2019.

        54.      The Debtor produced some, but not all, of the requested documents.

        55.      On April 8, 2019, the Trustee’s counsel took the Debtor’s 2004 Examination (the

“Rule 2004 Exam”); however, the Rule 2004 Exam was not concluded.

        56.      At the Rule 2004 Exam, certain issues arose that required the examination of

additional documents and records not originally requested in the Request for Production. As

such, at the Rule 2004 Exam, the Trustee, through counsel, requested additional documents and

records from the Debtor.

        57.      Attached hereto as Exhibit “G” are the documents (the “Documents”) that remain

outstanding, including from the original Request for Production and from the additional

request(s) made at the Rule 2004 Exam 2.

        58.      Due to the Debtor’s failure to provide the Trustee with the Documents, on

September 16, 2019, the Trustee filed a Motion to Compel Turnover of Certain Documents and

Records [ECF No. 34] (the “Motion to Compel”).

        59.      On October 7, 2019, the Court entered an Agreed Order Granting Trustee’s

Motion to Compel Turnover of Certain Documents and Records [ECF No. 46] (the “Order

Granting Motion to Compel”).

        60.      Pursuant to the Order Granting Motion to Compel, the Debtor was required to

turn over the Documents to the Trustee by November 6, 2019.

        61.      To date, many of the Documents remain outstanding and have not been turned

over to the Trustee.

        62.      In particular, the Debtor has failed to provide any accounting of the Life

Insurance Proceeds (totaling $96,146.22), all of which were requested by the Trustee, as listed in

        2
          For the sake of clarity, the list of Documents attached as Exhibit “G” contain the specific documents that
remain outstanding, even though the Trustee’s request was more general than those specific Documents that are
listed.
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the Documents.

         63.   The Debtor has therefore willfully failed to obey or comply with the Order

Granting Motion to Compel.

         64.   On October 29, 2020, Yevgeniya Bumshteyn signed a Standstill and Tolling

Agreement, which provided that any statute of limitations or time-based defenses to this action

shall be tolled until the Termination Date, which is the 31st day following a Notice of

Termination by either party. To date, Yevgeniya Bumshteyn has not provided the Trustee with

any Notice of Termination.

         65.   Furthermore, pursuant to Court order [ECF No. 87], the deadline for the Trustee

to object to the Debtor’s discharge is February 26, 2021.

         66.   As such, this action is timely.

   Count 1 – Objection to Discharge (11 U.S.C. § 727(a)(2)) (Against Emma Bumshteyn)

         67.   The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         68.   By failing to provide the Trustee with the Documents, and/or failing to provide

the Trustee with any accounting of the Life Insurance Proceeds (totaling $96,146.22), all of

which were requested by the Trustee, the Debtor, with the intent to hinder, delay or defraud a

creditor or an officer of the estate charged with custody of property under the Bankruptcy Code,

has transferred, removed, destroyed, mutilated, or concealed, or has permitted to be transferred,

removed, destroyed, mutilated, or concealed (a) property of the Debtor, within one year before

the Petition Date; and/or (b) property of the estate, after Petition Date.

         WHEREFORE, the Trustee respectfully requests that the Court deny the Debtor’s

discharge, pursuant to 11 U.S.C. § 727(a)(2), and for such other relief this Court deems just and

equitable.


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   Count 2 – Objection to Discharge (11 U.S.C. § 727(a)(3)) (Against Emma Bumshteyn)

         69.     The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         70.     By failing to provide the Trustee with the Documents, the Debtor has concealed,

destroyed, mutilated and/or failed to keep or preserve recorded information, from which the

Debtor’s financial condition or business transactions might be ascertained.

         71.     The Debtor has failed to provide any justification for such concealment,

destruction, mutilation and/or failure to keep or preserve such Documents.

         WHEREFORE, the Trustee respectfully requests that the Court deny the Debtor’s

discharge, pursuant to 11 U.S.C. § 727(a)(3), and for such other relief this Court deems just and

equitable.

                   Count 3 – Objection to Discharge (11 U.S.C. § 727(a)(4)(D))
                                 (Against Emma Bumshteyn)

         72.     The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         73.     The Trustee is entitled to possession of the Documents, which constitute recorded

information relating to the Debtor’s property or financial affairs.

         74.     The Debtor has withheld from the Trustee such recorded information relating to

the Debtor’s property or financial affairs, in violation of 11 U.S.C. § 727(a)(4)(D).

         WHEREFORE, the Trustee respectfully requests that the Court deny the Debtor’s

discharge, pursuant to 11 U.S.C. § 727(a)(4)(D), and for such other relief this Court deems just

and equitable.




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                    Count 4 – Objection to Discharge (11 U.S.C. § 727(a)(5))
                                 (Against Emma Bumshteyn)

         75.     The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         76.     The Debtor has failed to explain satisfactorily any loss of assets or deficiency of

assets to meet the Debtor's liabilities, as described above.

         WHEREFORE, the Trustee respectfully requests that the Court deny the Debtor’s

discharge, pursuant to 11 U.S.C. § 727(a)(5), and for such other relief this Court deems just and

equitable.

                   Count 5 – Objection to Discharge (11 U.S.C. § 727(a)(6)(A))
                                 (Against Emma Bumshteyn)

         77.     The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         78.     The Debtor has refused to obey a lawful order of this Court (to wit: the Order

Granting Motion to Compel).

         WHEREFORE, the Trustee respectfully requests that the Court deny the Debtor’s

discharge, pursuant to 11 U.S.C. § 727(a)(6)(A), and for such other relief this Court deems just

and equitable.

     Count 6 – Avoidance and Recovery of Fraudulent Transfers (11 U.S.C. § 544 and
                Fla. Stat. § 726.105(1)(a)) (Against Yevgeniya Bumshteyn)

         79.     The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         80.     The transfer of the Debtor’s interest in the Ocean Drive Property to Yevgeniya

Bumshteyn, both individually and as Trustee of the Bumshteyn Family Irrevocable Inter Vivos

Trust (the “Ocean Drive Transfer”) was made within four (4) years of the Petition Date.

         81.     The transfer of the Debtor’s interest in the Flushing Property to Yevgeniya

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Bumshteyn (the “Flushing Transfer”) was made within four (4) years of the Petition Date.

       82.     To the extent that Yevgeniya Bumshteyn received any portions of the Parkview

Sale Proceeds, the Fresh Meadows Sale Proceeds, the Flushing Sale Proceeds, the TD Bank

Account Transfers or the Life Insurance Proceeds, such transfers (collectively, the “Monetary

Transfers”) were also made within four (4) years of the Petition Date.

       83.     Pursuant to 11 U.S.C. § 544(b), the Trustee may avoid any transfer of an interest

of the Debtor in property or any obligation incurred by the Debtor that is voidable under

applicable law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. § 502

or that is not allowable only under 11 U.S.C. § 502(e).

       84.     Fla. Stat. § 726.105(1)(a) provides that:

       A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,
       whether the creditor's claim arose before or after the transfer was made or the
       obligation was incurred, if the debtor made the transfer or incurred the obligation:
       with actual intent to hinder, delay, or defraud any creditor of debtor.

       85.     The Ocean Drive Transfer and the Flushing Transfer (collectively, the “Real

Property Transfers”) and the Monetary Transfers, as part of the Debtor’s systematic dissipation

of all of her assets after entering into the Modification Agreement with Melrose, were made with

the actual intent to hinder, delay, and/or defraud creditors pursuant to Fla. Stat. § 726.105(1)(a).

       86.     Yevgeniya Bumshteyn was the initial transferee for whose benefit the Real

Property Transfers and the Monetary Transfers were made, and as such, the Trustee is entitled to

recover the value of such properties and monetary amounts, pursuant to 11 U.S.C. § 550(a)(1).

       WHEREFORE, the Trustee respectfully requests that the Court enter judgment: (a)

setting aside and avoiding the Real Property Transfers and the Monetary Transfers; (b) for a

monetary amount, against Yevgeniya Bumshteyn, for the value of such properties and the

amount of the Monetary Transfers, to be determined at trial; (c) awarding court costs and

interest; and (d) for such other and further relief as the Court deems just and proper.

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     Count 7 – Avoidance and Recovery of Fraudulent Transfers (11 U.S.C. § 544 and
                Fla. Stat. § 726.105(1)(b)) (Against Yevgeniya Bumshteyn)

         87.    The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         88.    Fla. Stat. § 726.105(1)(b) provides:

         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor;

         (b) whether the creditor's claim arose before or after the transfer was made or the
         obligation was incurred, if the debtor made the transfer or incurred the obligation;

         (c) Without receiving reasonably equivalent in value in exchange for the transfer
         obligation, and the debtor was engaged or was about to engage in a business or a
         transaction for which the remaining assets of the debtor were unreasonably small in
         relation to the business or transaction; or

         (d) Intended to incur, or believed or reasonably should have believed that it would incur,
         debts beyond its ability to pay as they became due.

         89.    The Real Property Transfers and the Monetary Transfers were made without the

Debtor receiving reasonably equivalent value in exchange for such transfers, pursuant to Fla.

Stat. § 726.105(1)(b).

         90.    At the time of the above-referenced transfers, the Debtor had incurred debts

beyond her ability to pay as they became due.

         91.    As set forth above, the Debtor was otherwise insolvent at the time(s) of the above-

referenced transfers.

         92.    As a result of the above-referenced transfers, the Trustee has been damaged

pursuant to 11 U.S.C. §544(b), for the total value of such transfers.

         93.    Yevgeniya Bumshteyn was the initial transferee for whose benefit the Real

Property Transfers and the Monetary Transfers were made, and as such, the Trustee is entitled to

recover the value of such properties and monetary amounts, pursuant to 11 U.S.C. § 550(a)(1).




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         WHEREFORE, the Trustee respectfully requests that the Court enter judgment: (a)

setting aside and avoiding the Real Property Transfers and the Monetary Transfers; (b) for a

monetary amount, against Yevgeniya Bumshteyn, for the value of such properties and the

amount of the Monetary Transfers, to be determined at trial; (c) awarding court costs and

interest; and (d) for such other and further relief as the Court deems just and proper.

     Count 8 – Avoidance and Recovery of Fraudulent Transfers (11 U.S.C. § 544 and
                  Fla. Stat. § 726.106) (Against Yevgeniya Bumshteyn)

         94.    The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         95.    Fla. Stat. § 726.106(1) provides:

         A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
         whose claim arose before the transfer was made or the obligation was incurred if
         the debtor made the transfer or incurred the obligation without receiving a
         reasonably equivalent value in exchange for the transfer or obligation and the
         debtor was insolvent at that time or the debtor became insolvent as a result of the
         transfer or obligation.

         96.    The Real Property Transfers and the Monetary Transfers were made without the

Debtor receiving reasonably equivalent value in exchange for such transfers, pursuant to Fla.

Stat. § 726.106.

         97.    As set forth above, the Debtor was otherwise insolvent at the time(s) of the above-

referenced transfers.

         98.    At the time(s) of the above-referenced transfers, the Debtor was indebted to

creditors in an amount in excess of such transfers.

         99.    As a result of the above-referenced transfers, the Trustee has been damaged

pursuant to 11 U.S.C. §544(b), for the total value of such transfers.

         100.   Yevgeniya Bumshteyn was the initial transferee for whose benefit the Real

Property Transfers and the Monetary Transfers were made, and as such, the Trustee is entitled to


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recover the value of such properties and monetary amounts, pursuant to 11 U.S.C. § 550(a)(1).

         WHEREFORE, the Trustee respectfully requests that the Court enter judgment: (a)

setting aside and avoiding the Real Property Transfers and the Monetary Transfers; (b) for a

monetary amount, against Yevgeniya Bumshteyn, for the value of such properties and the

amount of the Monetary Transfers, to be determined at trial; (c) awarding court costs and

interest; and (d) for such other and further relief as the Court deems just and proper.

                  Count 9 – Recovery of Avoided Transfers (11 U.S.C. § 550)
                              (Against Yevgeniya Bumshteyn)

         101.   The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

         102.   This count is pled as an effectuating count, whereby to whatever extent the Court

deems it necessary for the Plaintiff to specifically seek to recover any avoided transfers pursuant

to a separately pled count, this count is being separately pled.

         103.   Upon the Court setting aside and avoiding the above-referenced transfers in the

preceding counts, the Trustee seeks to recover the value of such transfers, pursuant to 11 U.S.C.

§ 550.

         WHEREFORE, the Trustee respectfully requests that the Court enter judgment: (a) for a

monetary amount, against Yevgeniya Bumshteyn, for the value of such properties and the

amount of the Monetary Transfers, to be determined at trial; (b) awarding court costs and

interest; and (c) for such other and further relief as the Court deems just and proper.




                              ________________________
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                                             By:_________/s/________________
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                                   Outstanding Documents

        A full accounting of any and all cash withdrawals made either from a bank teller(s) or at
an ATM, from the Debtor’s bank account at Chase Bank, N.A. (Acct # 7143), from July 13, 2017
through November 8, 2017. Specifically, these cash withdrawals total $93,180.00. Such
accounting shall include, without limitation, documents that specifically evidence all transfer(s)
into and all transfer(s) out of any financial accounts, relating to such cash withdrawals, which
specifically evidence the exact disposition of such amounts”, including without limitation, an
accounting of the following transactions:

       a.      On 7/21/2017, $96,146.22 went into the Chase 7143 account. Debtor took out
$3,000.00 in cash at an ATM in Glendale NY. What was that for?

       b.       From that account, on 6/29/2017 there was an International Wire to Marsilii
Maristella in the amount of $1,172.59. What was that for?

      c.     From 7/27/2017 to 8/21/2017, the Debtor withdrew $17,100.00 from various ATMs
in New York. What was that for?

       d.    From 7/31/2017         to   8/22/2017,       the   Debtor    withdrew   $28,400.00   in
withdrawals. What was that for?

      e.     From 8/28/2017 to 9/6/2017, the Debtor withdrew $1,480.00 from various ATMs
in New York. What was that for?

       f.    From 8/28/2017         to   9/25/2017,       the   Debtor    withdrew   $27,200.00   in
withdrawals. What was that for?

     g.     From 10/13/2017 to 10/23/2017, the Debtor withdrew $6,000.00 from various
ATMs in New York. What was that for?

      h.     From 10/27/2017 to 11/9/2017, the Debtor withdrew $3,500.00 from various ATMs
in New York. What was that for?

       i.      On 11/8/2017, the Debtor withdrew $9,500.00 in a withdrawal. What was that for?




                                            Exhibit "G"
